Case 10-93904-BHL-11         Doc 1626      Filed 12/13/12     EOD 12/13/12 14:42:59        Pg 1 of 6




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 IN RE:                                            )        Chapter 7
                                                   )
 EASTERN LIVESTOCK CO., LLC,                       )        Case No. 10-93904-BHL-11
                                                   )
                        Debtor.                    )        Hon. Basil H. Lorch III


  MOTION TO APPROVE COMPROMISE AND SETTLEMENT WITH C&M CATTLE

                 Pursuant to Federal Rule of Bankruptcy Procedure 9019, James A. Knauer, as

 chapter 11 trustee ("Trustee") for Eastern Livestock Co., LLC ("Debtor"), by counsel, hereby

 files this motion (the "Settlement Motion") requesting the Court's approval of a compromise and

 settlement of claims between the Trustee and C&M Cattle ("C&M"). In support of this

 Settlement Motion, the Trustee respectfully represents the following:

                                     Preliminary Background

          1.    Certain petitioning creditors commenced the above-captioned chapter 11 case (the

 "Chapter 11 Case") against Debtor on December 6, 2010 (the "Petition Date") by filing an

 involuntary petition for relief under chapter 11 of title 11 of the United States Code. This Court

 entered the Order for Relief in An Involuntary Case and Order to Complete Filing [Dock. No.

 110] on December 28, 2010.

          2.    On December 27, 2010, the Court entered the Order Approving the Appointment

 of James A. Knauer as Chapter 11 Trustee [Dock. No. 102] pursuant to 11 U.S.C. § 1104.

          3.    Based on his investigation, the Trustee has concluded that C&M owes the Debtor

 $378,198.68 on account of 802 head of cattle delivered to C&M by Debtor from and after

 August 27, 2010 and as evidenced by Debtor's invoice numbers 13314934, 13315133, 14314219,

 14314251, 31310923, 31316083 and 31316245. C&M disputes that $378,198.68 is the true



 DMS_US 36654244v1
Case 10-93904-BHL-11          Doc 1626      Filed 12/13/12     EOD 12/13/12 14:42:59         Pg 2 of 6




 amount owing to Debtor and asserts that C&M is entitled to set-off the amount of $172,901.97

 (the "Set-off Amount") against any amounts owed to Debtor because Debtor allegedly owes the

 Set-off Amount to C&M for 1) 202 head of cattle that C&M delivered to Debtor on October 28,

 2010 and November 11, 2010 and 2) an unpaid feed bill from October of 2010.


         4.     C&M is willing to make immediate payment of $205,296.71 (the "Settlement

 Amount") in satisfaction of the "Released Claims" (defined below) provided the Court enters a

 final, nonappealable order approving this Settlement Motion ("Settlement Order").


                                           The Settlement

         5.     The Trustee requests that the Court approve the Settlement Agreement and Mutual

 Release attached hereto as Exhibit A ("Settlement Agreement"). The Settlement Agreement

 provides that C&M will pay the amount of $205,296.71(the "Settlement Amount") to the Trustee

 to be held in escrow until such date as the Settlement Order becomes a final, nonappealable

 order. Further, C&M shall assign to the Trustee all claims it has or may have in connection with

 the following adversary proceeding in the Chapter 11 case: Friona Industries, LP v. Eastern

 Livestock Co., LLC, et al, Adversary Proceeding No. 11-59093. The Trustee and C&M shall

 enter into a limited mutual release in accordance with the terms of the Settlement Agreement.

                                           Basis for Relief

         6.     Pursuant to Federal Rule of Bankruptcy Procedure 9019, this Court has authority

 to approve a compromise or settlement on motion made by the Trustee after notice and

 opportunity for a hearing.

         7.     Under Bankruptcy Rule 9019, a bankruptcy court should approve a proposed

 compromise if it is fair and equitable and in the best interests of the estate. See In re Doctors



                                                   2
 DMS_US 36654244v1
Case 10-93904-BHL-11         Doc 1626      Filed 12/13/12     EOD 12/13/12 14:42:59           Pg 3 of 6




 Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007); Depoister v. Mary M. Holloway

 Found, 36 F.3d 582,586 (7th Cir. 1994); Matter of Energy Co-op, Inc., 886 F.2d 921, 927 (7th Cir.

 1989).

          8.    The Trustee believes that the compromise and settlement reflected in the proposed

 Settlement Agreement is fair and equitable and in the best interests of the estate.

          9.    The Trustee requests the Court to specify in the Settlement Order that the

 Settlement Amount shall be deposited into the Debtor's general operating account subject to any

 order governing the use of cash collateral by the Trustee.

          WHEREFORE, if no objections to this Settlement Motion are filed, the Parties request

 that the Court enter the Settlement Order approving the Settlement Agreement. A proposed

 form of order is attached as Exhibit B. If any objections to this Settlement Motion are filed, the

 parties request that this Settlement Motion and any timely filed objection be scheduled for

 hearing by the Court on the earliest date that is available and convenient to the Court. The

 Trustee requests that any notice of this motion include language that any objection to this

 Settlement Motion set forth with specificity any claim that the objecting party has to the

 Settlement Amount.




                                                  3
 DMS_US 36654244v1
Case 10-93904-BHL-11          Doc 1626      Filed 12/13/12      EOD 12/13/12 14:42:59          Pg 4 of 6




                                                 Respectfully submitted,

                                                 FAEGRE BAKER DANIELS LLP


                                                 By: /s/ Shiv Ghuman O'Neill

 James M. Carr (#3128-49)                         Counsel for James A. Knauer, Chapter 11 Trustee
 Terry E. Hall (#22041-49)
 Shiv Ghuman O'Neill (#23280-53A)
 Dustin R. DeNeal (#27535-49)
 300 N. Meridian Street, Suite 2700
 Indianapolis, IN 46204-1782
 Telephone: (317) 237-0300
 Facsimile: (317) 237-1000
 jim.carr@faegrebd.com
 terry.hall@faegrebd.com
 shiv.oneill@faegrebd.com
 dustin.deneal@faegrebd.com

 Wendy W. Ponader (#14633-49)
 600 East 96th Street, Suite 600
 Indianapolis, IN 46240
 Telephone: (317) 569-9600
 Facsimile: (317) 569-4800
 wendy.ponader@faegrebd.com


                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 13, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.
  David L. Abt                      C. R. Bowles, Jr                   John Hunt Lovell
  davidabt@mwt.net                  cbowles@ bgdlegal.com              john@lovell-law.net

  Mark A. Robinson                  Jeffrey R. Erler                   Edward M King
  mrobinson@vhrlaw.com              jeffe@bellnunnally.com             tking@fbtlaw.com

  Randall D. LaTour                 John R. Carr, III                  Bret S. Clement
  rdlatour@vorys.com                jrciii@acs-law.com                 bclement@acs-law.com

  Daniel J. Donnellon               Stephen A. Weigand                 John Frederick Massouh
  ddonnellon@ficlaw.com             sweigand@ficlaw.com                john.massouh@sprouselaw.com

  John W. Ames                      Robert Hughes Foree                Kim Martin Lewis
  james@bgdlegal.com                robertforee@bellsouth.net          kim.lewis@dinslaw.com

  Jeremy S Rogers                   Ivana B. Shallcross                Deborah Caruso
  Jeremy.Rogers@dinslaw.com         ishallcross@ bgdlegal.com          dcaruso@daleeke.com




                                                     4
 DMS_US 36654244v1
Case 10-93904-BHL-11               Doc 1626     Filed 12/13/12         EOD 12/13/12 14:42:59              Pg 5 of 6



  Meredith R. Thomas                    William Robert Meyer, II             Allen Morris
  mthomas@daleeke.com                   rmeyer@stites.com                    amorris@stites.com

  Charles R. Wharton                    James Bryan Johnston                 James T. Young
  Charles.R.Wharton@usdoj.gov           bjtexas59@hotmail.com                james@rubin-levin.net

  David L. LeBas                        Judy Hamilton Morse                  John M. Thompson
  dlebas@namanhowell.com                judy.morse@crowedunlevy.com          john.thompson@crowedunlevy.com

  Jessica E. Yates                      John Huffaker                        Matthew J. Ochs
  jyates@swlaw.com                      john.huffaker@sprouselaw.com         kim.maynes@moyewhite.com

  Laura Day Delcotto                    Kelly Greene McConnell               T. Kent Barber
  ldelcotto@dlgfirm.com                 lisahughes@givenspursley.com         kbarber@dlgfirm.com

  Ross A. Plourde                       Walter Scott Newbern                 Kirk Crutcher
  ross.plourde@mcafeetaft.com           wsnewbern@msn.com                    kcrutcher@mcs-law.com

  Todd J. Johnston                      Timothy T. Pridmore                  Theodore A Konstantinopoulos
  tjohnston@mcjllp.com                  tpridmore@mcjllp.com                 ndohbky@jbandr.com

  Karen L. Lobring                      Sandra D. Freeburger                 Lisa Koch Bryant
  lobring@msn.com                       sfreeburger@dsf-atty.com             courtmail@fbhlaw.net

  Elliott D. Levin                      John M. Rogers                       John David Hoover
  edl@rubin-levin.net                   johnr@rubin-levin.net                jdhoover@hooverhull.com

  Sean T. White                         Jay P. Kennedy                       John R. Burns
  swhite@hooverhull.com                 jpk@kgrlaw.com                       john.burns@faegrebd.com

  Michael W. McClain                    William E Smith                      Kayla D. Britton
  mike@kentuckytrial.com                wsmith@k-glaw.com                    kayla.britton@faegrebd.com

  James Edwin McGhee                    Thomas C Scherer                     David A. Laird
  mcghee@derbycitylaw.com               tscherer@bgdlegal.com                david.laird@moyewhite.com

  Jerald I. Ancel                       Jeffrey J. Graham                    Trevor L. Earl
  jancel@taftlaw.com                    jgraham@taftlaw.com                  tearl@rwsvlaw.com

  David Alan Domina                     Kent A Britt                         Joshua N. Stine
  dad@dominalaw.com                     kabritt@vorys.com                    kabritt@vorys.com

  Jill Zengler Julian                   Jeffrey L Hunter                     Amelia Martin Adams
  Jill.Julian@usdoj.gov                 jeff.hunter@usdoj.gov                aadams@dlgfirm.com

  Michael Wayne Oyler                   Jason W. Cottrell                    Robert A. Bell
  moyler@rwsvlaw.com                    jwc@stuartlaw.com                    rabell@vorys.com

  James E. Rossow                       James B. Lind                        Melissa S. Giberson
  jim@rubin-levin.net                   jblind@vorys.com                     msgiberson@vorys.com

  Steven A. Brehm                       Anthony G. Raluy                     U.S. Trustee
  sbrehm@ bgdlegal.com                  traluy@fbhlaw.net                    ustpregion10.in.ecf@usdoj.gov

  James M. Carr                         Jack S. Dawson                       Dustin R. DeNeal
  james.carr@faegrebd.com               jdawson@millerdollarhide.com         dustin.deneal@faegrebd.com

  Shawna M. Eikenberry                  Terry E. Hall                        Jay Jaffe
  shawna.eikenberry@faegrebd.com        terry.hall@faegrebd.com              jay.jaffe@faegrebd.com

  James A. Knauer                       Erick P. Knoblock                    Harmony A. Mappes
  jak@kgrlaw.com                        eknoblock@daleeke.com                harmony.mappes@faegrebd.com

  Christie A. Moore                     Shiv Ghuman O'Neill                  Wendy W. Ponader
  cm@gdm.com                            shiv.oneill@faegrebd.com             wendy.ponader@faegrebd.com

  Peter M. Gannott                      Eric C. Redman                       Joe T. Roberts
  pgannott@gannottlaw.com               ksmith@redmanludwig.com              jratty@windstream.net

  Joseph H. Rogers                      James E. Smith                       Robert K. Stanley
  jrogers@millerdollarhide.com          jsmith@smithakins.com                robert.stanley@faegrebd.com



                                                            5
 DMS_US 36654244v1
Case 10-93904-BHL-11        Doc 1626      Filed 12/13/12          EOD 12/13/12 14:42:59          Pg 6 of 6



  Andrew D. Stosberg               Kevin M. Toner                        Andrea L. Wasson
  astosberg@lloydmc.com            kevin.toner@faegrebd.com              andrea@wassonthornhill.com

  Christopher M. Trapp             Eric W. Richardson                    Joshua Elliott Clubb
  ctrapp@rubin-levin.net           ewrichardson@vorys.com                joshclubb@gmail.com

  Jennifer Watt
  jwatt@kgrlaw.com




         I further certify that on December 13, 2012, a copy of the foregoing pleading was served
 via electronic mail transmission on the following:
  Ashley S. Rusher                 Darla J. Gabbitas
  asr@blancolaw.com                darla.gabbitas@moyewhite.com



                                                                  /s/ Shiv Ghuman O'Neill




                                                   6
 DMS_US 36654244v1
